Case 18-51580-lrc           Doc 14       Filed 03/12/18 Entered 03/12/18 13:31:43                      Desc Main
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                                             LAW OFFICES
                                  McCALLA RAYMER LEIBERT PIERCE, LLC
                                      BANKRUPTCY DEPARTMENT
                                          1544 Old Alabama Road
                                           Roswell, GA 30076
                                        TELEPHONE: 770-643-7200
                                         TELEFAX: 866-761-0279
                                             1-800-275-7171

                                                  March 12, 2018

Clerk, United States Bankruptcy Court
75 Ted Turner Drive S.W., Suite 1340
Atlanta, GA 30303

                                   REQUEST FOR SERVICE OF NOTICES
      RE:
                      Debtor                                 Pendarvis Williams
                      Case Number                            18-51580
                      Chapter                                13
                      Secured Creditor                       Wells Fargo Bank, N.A.
                      Loan Number                            XXXXXX2878
Dear Sir / Madam:

            Would you be so kind as to add the following interested party to the mailing / service list in the above
   referenced case:

              Wells Fargo Bank, N.A.
              c/o McCALLA RAYMER LEIBERT PIERCE, LLC
              Bankruptcy Department
              1544 Old Alabama Road
              Roswell, GA 30076

            Please provide us with a copy of each notice of any proceeding, hearing and/or report in this matter
   including, but not limited to notices required by Bankruptcy Rules 2002(g) and the Local Rules of the
   Bankruptcy Court.

            We appreciate your courtesy in this matter. If you have any questions, please do not hesitate to call
   me.

                                                      Very Truly Yours,

                                                      /s/ A. Michelle Hart Ippoliti
                                                      c/o McCALLA RAYMER LEIBERT PIERCE, LLC
                                                      1544 Old Alabama Road
                                                      Roswell, GA 30076
                                                      Phone: 678-281-6537
                                                      Email: Michelle.HartIppoliti@mccalla.com
                                                      Attorney Bar No: 334291
